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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

VERONICA BRAYMAN,

                     Plaintiff,

v.                                           Civil Action No. 1:20-cv-01524

CAPITAL ONE BANK (USA), N.A.,

                     Defendants.


                                  STIPULATION OF DISMISSAL

       COMES NOW, the Plaintiff, Veronica Brayman, by counsel, together with Capital One

Bank (USA), N.A., by counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby

STIPULATE to dismissal of the action with prejudice. The court shall retain jurisdiction for

purposes of enforcement of the settlement pursuant to Kokkonen v. Guardian Life Ins., 511 U.S.

375 (1994).

       It is so STIPULATED.

                                           Respectfully submitted,


                                           By:__/s/_Hyatt Browning Shirkey
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                                CERTIFICATE OF SERVICE


       I hereby certify that on June 17, 2021, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which will send notice of such filing to all attorneys of

record in this matter.


                                             By:__/s/_Matthew L. Schwarts
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